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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

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Diamond Painting International Inc,                                 :
                                          Plaintiff,                :                  Case No. 1:23-CV-17192
                                                                    :
                           -against-                                :                  TWICE AMENDED
                                                                                       COMPLAINT


The Partnerships and Unincorporated
                                                                    :
Associations Identified on Schedule A,
                                          Defendants.               :
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       Pursuant to the Court Order dated January 4, 2024 (Dkt. 12), Plaintiff, Diamond Painting

International, Inc., (hereinafter “Plaintiff”), by its undersigned attorneys, hereby amend its

complaint for counterfeiting, trademark infringement, and unfair competition against the

Partnerships, and Unincorporated Associations identified on Schedule A hereto (collectively,

“Defendants”) and alleges as follows:1


                                         I. JURISDICTION AND VENUE


       1.          This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331. Venue is proper in this District pursuant to 28 U.S.C. § 1391, and this

Court may properly exercise personal jurisdiction over Defendants since each of the Defendants

directly targets business activities toward consumers in the United States, including in State of


       1
           EXHIBIT B and SCHEDULE A are filed as Sealed Exhibit B and Sealed Schedule A, respectively.




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Illinois and this District, through at least the fully interactive e-commerce stores operating under

the seller aliases and e-commerce stores’ URLs identified in Schedule A (the “Seller Aliases”).

Specifically, Defendants #1-3 identified in Schedule A made sales to this judicial district on

November 26, 2023 (see Exhibit B). Moreover, Defendants have targeted sales to residents in

this District and elsewhere in State of Illinois State by organizing and operating e-commerce

stores on Amazon.com that target United States consumers using one or more Seller Aliases,

offering shipping to the United States, including to purchasers in State of Illinois, accepting

payment in U.S. dollars and/or funds from U.S. bank accounts and, on information and belief,

have sold products using infringing and counterfeit versions of Plaintiff’s federally registered

trademark (“Plaintiff’s Trademark”) to residents of State of Illinois. Each of the Defendants is

committing tortious acts in the State of Illinois. Alternatively, Defendants are subject to personal

jurisdiction of this Court under Rule 4(k)(2) for their violations of the federal trademark laws.


                                      II. INTRODUCTION

       2.      This action has been filed by Plaintiff to combat e-commerce store operators who

trade upon Plaintiff’s reputation and goodwill by offering for sale and/or selling unauthorized

and unlicensed counterfeit products and using infringing versions of Plaintiff’s federally

registered Trademark No. 6,980,948, Diamond Painting ® (“the ‘948 Registration”), in

International Class 28 for “Puzzles; amusement park rides; children's educational toys for

developing fine motor, cognitive, counting skills; dolls and playsets therefor; infant toys;

inflatable pool toys; pet toys; plush toys; PVC toy figures; toy building blocks; toy mobiles; toy

telescopes.” Defendants created e-commerce stores operating under one or more Seller Alias

that are advertising, offering for sale, and selling Infringing and Counterfeit Products to unaware

consumers. E-commerce stores operating under the Seller Aliases share unique identifiers,

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establishing a logical relationship among them and that of Defendants’ operation arise out of the

same transaction, occurrence, or series of transactions or occurrences. Defendants attempt to

avoid and mitigate liability by operating under one or more Seller Aliases to conceal both their

identities and the full scope and interworking of their infringement activities. Plaintiff must file

this action to combat Defendants’ sale of Infringing and Counterfeit Products infringement of

Plaintiff’s Trademark and to protect unknowing consumers from purchasing Infringing and

Counterfeit Products over the Internet. Plaintiff has been and continues to be irreparably

damaged through lost sales, consumer confusion, dilution, and tarnishment of its valuable

trademark because of Defendants’ actions. Plaintiff seeks injunctive and monetary relief.


                                        III. THE PARTIES


       3.      Plaintiff is a Wyoming corporation having a place of business at Cheyenne,

Wyoming.


       4.      Plaintiff is engaged in creating, designing, and sales of children’s educational

toys, games, products, and entertainment properties under the ‘948 Registration. Examples of

items sold by Defendants in Chicago, Illinois, are shown in Exhibit B.


       5.      Plaintiff owns the entire right, title, and interest to the ‘948 Registration, which is

duly registered with the United States Patent and Trademark Office. (see Exhibit A).


       6.      The federal registration and assignment of the ‘948 Registration is conclusive

evidence of Plaintiff’s ownership of the trademark, and that the trademark is valid and

enforceable.




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       7.      Defendants are individuals and business entities of unknown makeup who own

Fand/or operate one or more of the e-commerce stores under at least the Seller Aliases identified

on Schedule A and other seller aliases not yet known to Plaintiff. On information and belief,

Defendants reside and/or operate in the People’s Republic of China or other foreign jurisdictions

with lax trademark enforcement systems or redistribute products from the same or similar

sources in those locations. Defendants have the capacity to be sued pursuant to Federal Rule of

Civil Procedure 17(b).


       8.      On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

used by Defendants to conceal their identities and the full scope of their operation make it

virtually impossible for Plaintiff to discover Defendants’ true identities and the exact

interworking of their network. If Defendants provide additional credible information regarding

their identities, Plaintiff will take appropriate steps to amend the Complaint.


                         IV. DEFENDANTS’ UNLAWFUL CONDUCT


       9.      Plaintiff has identified many fully interactive e-commerce stores offering products

which infringed the ‘948 Registration on online marketplace platforms such as Amazon.com,

including the e-commerce stores operating under Seller Aliases. The Defendants target

consumers in this Judicial District and throughout the United States.


       10.     Third party service providers like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing counterfeiters to

routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.

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       11.     Defendants have targeted sales to Illinois residents in this District and elsewhere

by organizing and operating e-commerce stores that target United States consumers using one or

more Seller Aliases, offering shipping to the United States, including the State of Illinois,

accepting payment in U.S. dollars and/or funds from U.S. bank accounts and, on information and

belief, have sold infringing products to residents of Illinois. (See Exhibit B).


       12.     Defendants concurrently employ and benefit from substantially similar

advertising and marketing strategies. For example, Defendants facilitate sales by designing the e-

commerce stores operating under the Seller Aliases so that they appear to unknowing consumers

to be authorized online retailers, outlet stores, or wholesalers. E-commerce stores operating

under the Seller Aliases look sophisticated and accept payment in U.S. dollars and/or funds from

U.S. bank accounts via credit cards, such as Visa, Mastercard, American Express, or Discover, as

well as PayPal, ApplePay, GooglePay, PingPong Global Solutions, and Pioneer. E-commerce

stores operating under the Seller Aliases often include content and images that make it very

difficult for consumers to distinguish such stores from an authorized retailer. Plaintiff has not

licensed or authorized Defendants to use the ‘948 Registration, and none of the Defendants is

authorized to use the ‘948 Registration.


       13.     Many Defendants also deceive unknowing consumers by using the ‘948

Registration without authorization within the content, text, and/or meta tags of their e-commerce

stores to attract various search engines crawling the Internet looking for websites relevant to

consumer searches for genuine products under the ‘948 Registration. Other e-commerce stores

operating under the Seller Aliases omit using the ‘948 Registration in the item title to evade

enforcement efforts while using strategic item titles and descriptions that will trigger their

listings when consumers are searching for products under the ‘948 Registration.

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       14.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading, and/or incomplete

information to an e-commerce platform such as Amazon to prevent discovery of their true

identities and the scope of their e-commerce operation.


       15.     E-commerce store operators such as Defendants regularly register or acquire new

seller aliases for the purpose of offering for sale and selling Infringing and Counterfeit Products.

Such seller alias registration patterns are one of many common tactics used by e-commerce store

operators like Defendants to conceal their identities and the full scope and interworking of their

counterfeiting operation, and to avoid being shut down.


       16.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers, such as templates with

common design elements that intentionally omit any contact information or other information for

identifying Defendants or other seller aliases they operate under or use. E-commerce stores

operating under the Seller Aliases include other notable common features, such as use of the

same registration patterns, accepted payment methods, check-out methods, keywords,

advertising tactics, similarities in price and quantities, the same incorrect grammar, misspellings,

and/or the use of the same text and images. Additionally, Infringing and Counterfeit Products for

sale by the Seller Aliases bear similar irregularities and indicia of being counterfeit to one

another, suggesting that the Infringing and Counterfeit Products may have been manufactured by

or come from a common source and that Defendants may be interrelated.


       17.     On information and belief, E-commerce store operators like Defendants are in

constant communication with each other and regularly participate in QQ.com chat rooms in


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China and through websites such as sellerdefense.cn regarding tactics for operating multiple

accounts, evading detection, pending litigation, and potential new lawsuits.


       18.     Upon information and belief, Defendants are working in active concert with one

another to manufacture knowingly and willfully, import, distribute, offer for sale, and sell

Infringing and Counterfeit Products in the same transaction, occurrence, or series of transactions.

Plaintiff, on information and belief, have jointly and severally, knowingly, and willfully used and

continue to use the ‘948 Registration in connection with the advertisement, distribution, offering

for sale, and sale of Infringing and Counterfeit Products into the United States and into Illinois

over the Internet.


       19.     Defendants’ unauthorized use of the ‘948 Registration in connection

with the advertising, distribution, offer for sale, and sale of products which infringe the ‘948

Registration into the United States, including Illinois and this District, is likely to cause and has

caused considerable financial and reputational damage to Plaintiff.


         COUNT I. TRADEMARK COUNTERFEITING UNDER 15 U.S.C. § 1114


       20.     Plaintiff hereby re-alleges and incorporates by reference each of the allegations

set forth in the foregoing paragraphs.


       21.     This is a trademark counterfeiting action against Defendants based on their

unauthorized use in commerce of imitations or copies of the ‘948 Registration in connection with

the sale, offering for sale, distribution, and/or advertising of counterfeit goods. The ‘948

Registration is a highly distinctive mark, with a degree of consumer recognition.




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       22.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products using

counterfeit reproductions of Products under the ‘948 Registration without Plaintiff’s permission.


       23.     Plaintiff is the exclusive owner of the ‘948 Registration, which is in full force and

effect. On information and belief, Defendants have knowledge of Plaintiff’s rights in the ‘948

Registration and are intentionally using counterfeit versions of the ‘948 Registration.

Defendants’ willful, intentional, and unauthorized use of the ‘948 Registration on counterfeit

products is likely to cause and is causing confusion, mistake, and deception as to the origin and

quality of the counterfeit products among the consuming public.


       24.     Defendants’ activities constitute willful trademark counterfeiting under Section 32

of the Lanham Act, 15 U.S.C. § 1114.


       25.     If Defendants’ actions are not enjoined, Plaintiff will continue to suffer

irreparable harm to its reputation and the goodwill of the ‘948 Registration.


       26.     The injuries and damages sustained by Plaintiff have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Counterfeit Products as alleged herein, and all gains, profits, and

advantages obtained by Defendant as a result thereof, enhanced discretionary damages, treble

damages and/or statutory damages of up to $2,000,000 per counterfeit mark per type of goods

sold, offered for sale or distributed and reasonably attorneys' fees and costs.




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             COUNT II. TRADEMARK INFRINGEMENT OF A REGISTERED
                        TRADEMARK UNDER 15 U.S.C. § 1114

       27.     Plaintiff hereby re-alleges and incorporates by reference each of the allegations

set forth in the foregoing paragraphs.

       28.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of imitations of the ‘948 Registration in connection with the sale,

offering for sale, distribution, and/or advertising of infringing goods. The Plaintiff’s Trademark is

a highly distinctive mark, with a degree of consumer recognition.

       29.     Plaintiff is the exclusive owner of the ‘948 Registration (Exhibit A), which is in

full force and effect. On information and belief, Defendants have knowledge of Plaintiff’s rights

in the ‘948 Registration and are willfully infringing the ‘948 Registration. Defendants’ willful,

intentional, and unauthorized use of the ‘948 Registration is likely to cause and is causing

confusion, mistake, and deception as to the origin and quality of the infringing products among

the consuming public.

       30.     Defendants’ activities constitute willful trademark infringement under Section 32

of the Lanham Act, 15 U.S.C. § 1114.

       31.     If Defendants’ actions are not enjoined, Plaintiff will continue to suffer irreparable

harm to its reputation and the goodwill of the ‘948 Registration.

       32.     The injuries and damages sustained by Plaintiff have been directly and

proximately caused by Defendants’ unlawful and infringing actions as alleged herein, and all

gains, profits, and advantages obtained by Defendant as a result thereof, enhanced discretionary

damages, as well as other remedies provided by 15 U.S.C. § 1116, 1117, and 1118, and

reasonably attorneys' fees and costs.




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          COUNT III. FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       33.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth

in the foregoing paragraphs.

       34.     Defendants’ promotion, marketing, offering for sale, and sale of Infringing and

Counterfeit Products has created and is creating a likelihood of confusion, mistake, and

deception among the consuming public as to the affiliation, connection, or association with

Plaintiff or the origin, sponsorship, or approval of Defendants’ Infringing and Counterfeit

Products by Plaintiff.

       35.     By using the ‘948 Registration in connection with the infringing products,

Defendants create a false designation of origin and a misleading representation of fact as to the

origin and sponsorship of the infringing products.

       36.     Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Infringing and Counterfeit Products to the consuming public

involves the use of counterfeit and infringing marks and is a willful violation of Section 43 (a) of

the Lanham Act, 15 U.S.C. § 1125.

       37.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of

the brand under the ‘948 Registration.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:




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       1)      That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under or in active concert with them

be temporarily, preliminarily, and permanently enjoined and restrained from:

       a.      using the ‘948 Registration or any reproductions, counterfeit copies, or colorable

imitations thereof in any manner in connection with the distribution, marketing, advertising,

offering for sale, or sale of any product that is a genuine product under the ‘948 Registration or is

authorized by Plaintiff to be sold in connection with the ‘948 Registration;

       b.      passing off, inducing, or enabling others to sell or pass off any product as a

genuine Product under the ‘948 Registration or any other product produced by Plaintiff, that is

not Plaintiff’s or not produced under the authorization, control, or supervision of Plaintiff and

approved by Plaintiff for sale under the ‘948 Registration;

       c.      committing any acts calculated to cause consumers to believe that Defendants’

Infringing and Counterfeit Products are those sold under the authorization, control, or

supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

       d.      further infringing the ‘948 Registration and damaging Plaintiff’s goodwill; and

       e.      manufacturing, shipping, delivering, holding for sale, transferring or otherwise

moving, storing, distributing, returning, or otherwise disposing of, in any manner, products or

inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered

for sale, and which bear the ‘948 Registration, or any reproductions, counterfeit copies, or

colorable imitations thereof;

       2)      Entry of an Order that, upon Plaintiff’s request, those with notice of the

injunction, including, without limitation, any online marketplace platforms such as Amazon

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(collectively, the “Third Party Providers”) shall disable and cease displaying any advertisements

used by or associated with Defendants in connection with the sale of counterfeit and infringing

goods using the ‘948 Registration;

       3)      That Defendants account for and pay to Plaintiff all profits realized by Defendants

by reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

infringement of the ‘948 Registration be increased by a sum not exceeding three times the

amount thereof as provided by 15 U.S.C. § 1117;

       4)      In the alternative, that Plaintiff be awarded statutory damages for willful

trademark counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of up to $2,000,000 for every use of

the ‘948 Registration;

       5)      That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

       6)      That the Court award all other relief that this Court deems just and proper.



Dated: January 11, 2024                      Respectfully submitted,

                                             /s/Lance Liu
                                             Robert D. Katz, Esq.
                                             katzr@kitchanlaw.com
                                             Lance Y. Liu, Esq.
                                             lanceliu2006@gmail.com
                                             Law Offices of Albert Wai-Kit Chan, PLLC
                                             141-07 20th Avenue
                                             Whitestone, NY 11357
                                             (718) 799-1000
                                             Attorneys for Plaintiff




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